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                                    UNITED STATES OF AMERICA
                                  Federal Trade Commission
                                       Washington, D.C. 20580




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                                                                September 21, 2023

Molly Dwyer, Clerk of Court
Office of the Clerk
U.S. Court of Appeals for the Ninth Circuit
95 Seventh Street
San Francisco, California 94103

                              Re: FTC v. Apex Capital Group, LLC, No. 22-55342

Dear Ms. Dwyer:

      Pursuant to F.R.A.P. 28(j), I write to call the Court’s attention to the Fourth
Circuit’s decision in FTC v. Ross, 74 F.4th 186 (4th Cir. 2023), that supports the
FTC’s arguments in this case.

       We showed in our brief that Wells Fargo lacks Article III standing to
intervene. The bank contends (Br. 21-27) that it suffered a redressable injury from
the district court’s appointment of a Receiver to collect assets because the
receivership orders are no longer supportable under Section 13(b) of the FTC Act,
15 U.S.C. § 53(b), after AMG Cap. Mgmt., LLC v. FTC, 141 S. Ct. 1341 (2021).
We showed (FTC Br. 19-24) that the court properly held that intervention would
not redress the bank’s claimed injury because the orders and monetary judgments
were independently supported by Section 19 of the FTC Act, 15 U.S.C. § 57b, and
the Restore Online Shoppers’ Confidence Act, which were unaffected by AMG.
See 1-ER-6. The bank’s claim that Section 19 relief is more limited, Br. 26-27,
ignores that the Receiver could still seek monetary damages for its state law
claims, which are not based on the FTC’s regulatory scheme. FTC Br. 23.

       Ross held that – regardless of whether Section 13(b) authorized monetary
relief – “the FTC could have pursued ‘materially similar relief under alternative
remedial pathways.” 74 F.4th at 195 (cleaned up). The court cited the Supreme
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Court’s recognition in AMG, 141 S. Ct. at 1348–52, that Section 19 is a
“mechanism[ ] within the FTC Act . . . expressly facilitating consumer redress.” Id.

        Ross also supports our argument that “[c]ourts have had little difficulty
rejecting AMG-based challenges under Rule 60(b) especially where Section 19
relief is also available.” FTC Br. 24 n.9. Ross held that “AMG is not sufficiently
extraordinary to justify” relief under Rule 60(b)(6). 74 F.4th at 194. Holding
otherwise, said the court, “would effectively eviscerate finality interests and open
the floodgates to newly meritorious 60(b)(6) motions each time the law changes.”
Id. Ross thus further demonstrates that the relief Well Fargo seeks through
intervention – Rule 60(b) relief based on AMG – was highly unlikely.

                                                           Sincerely,

                                                           s/ Michael D. Bergman
                                                           Michael D. Bergman
                                                           Attorney
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                      CERTIFICATE OF COMPLIANCE

      I certify that the body of the foregoing letter contains 348 words and is thus
in compliance with the 350-word count limit in Fed. R. App. P. 28(j) and 9th Cir.
R. 28-6.


September 21, 2023                                   Michael D. Bergman
                                                     Michael D. Bergman
                                                     Attorney
                                                     Federal Trade Commission




                          CERTIFICATE OF SERVICE

       I certify that on September 21, 2023, I electronically filed the foregoing with
the Clerk of the Court for the United States Court of Appeals for the Ninth Circuit
by using the CM/ECF system. I certify that all participants in the case are
registered CM/ECF users and that service will be accomplished by the CM/ECF
system.

September 21, 2023                                   Michael D. Bergman
                                                     Michael D. Bergman
                                                     Attorney
                                                     Federal Trade Commission
